     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 1 of 28 Page ID #:199



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12                            UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14   UNITED STATES OF AMERICA,                     No. CR 21-559-SB
15               Plaintiff,                        GOVERNMENT’S SENTENCING
                                                   MEMORANDUM; DECLARATION OF
16                      v.                         MELISSA MILLS; EXHIBITS 1-11
17   DAVID H. WRIGHT,                              Hearing Date:     April 26, 2022
                                                   Hearing Time:     8:00 a.m.
18               Defendant.                        Location:         Courtroom of the Hon.
                                                                     Stanley Blumenfeld
19

20
           Plaintiff United States of America, by and through its counsel of record, the
21
     United States Attorney for the Central District of California and Assistant United States
22
     Attorneys Melissa Mills, Jamari Buxton, and Susan Har, hereby files its sentencing
23
     memorandum.
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     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 2 of 28 Page ID #:200



1          This sentencing memorandum is based upon the attached memorandum of points
2    and authorities, the supporting declaration and exhibits, the files and records in this case,
3    and such further evidence and argument as the Court may permit.
4     Dated: April 12, 2022                     Respectfully submitted,
5                                               TRACY L. WILKISON
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      Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 3 of 28 Page ID #:201



1                                                 TABLE OF CONTENTS
2    DESCRIPTION                                                                                                                PAGE
3    TABLE OF AUTHORITIES ............................................................................................. ii
4    MEMORANDUM OF POINTS AND AUTHORITIES ................................................... 1
5    I.      INTRODUCTION ................................................................................................... 1
6    II.     STATEMENT OF FACTS ...................................................................................... 2
7            A.       Defendant’s Corrupt Agreement ................................................................... 3
8            B.       Defendant’s Secret Lobbying On Behalf of Aventador ................................ 3
9            C.       Defendant’s Secret Work On Behalf of Aventador After the Contract
                      Award ............................................................................................................ 6
10
             D.       Defendant’s Destruction of Evidence ........................................................... 7
11
             E.       Defendant’s Renewal of Commitment To His Corrupt Agreement ............. 8
12
             F.       Defendant’s False Statements To Federal Authorities .................................. 9
13
     III.    Procedural History ................................................................................................... 9
14
     IV.     THE PRESENTENCE INVESTIGATION REPORT .......................................... 10
15
     V.      THE GOVERNMENT’S SENTENCING RECOMMENDATION ..................... 11
16
             A.       Nature and Circumstances of the Offenses ................................................. 11
17
             B.       General and Specific Deterrence ................................................................. 15
18
             C.       Need to Reflect Seriousness of Offense, to Promote Respect for the
19                    Law, and to Provide Just Punishment for the Offense ................................ 18
20           D.       History and Characteristics of Defendant ................................................... 18
21           E.       Avoidance of Sentencing Disparities .......................................................... 23
22   VI.     CONCLUSION...................................................................................................... 23
23

24

25

26

27

28

                                                                     i
      Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 4 of 28 Page ID #:202



1                                               TABLE OF AUTHORITIES
2    DESCRIPTION                                                                                                                PAGE
3    Cases
4
     United States v. Bistline,
5     665 F.3d 758 (6th Cir. 2012) ......................................................................................... 20
6
     United States v. Ganim,
7     2006 WL 1210984 (D. Conn. May 5, 2006) ................................................................. 14
8
     United States v. Hill,
9     645 F.3d 900 (7th Cir. 2011) ......................................................................................... 15
10
     United States v. Martin,
11    455 F.3d 1227 (11th Cir. 2006) ..................................................................................... 16
12
     United States v. Morgan,
13    635 F. App'x 423 (10th Cir. 2015) .......................................................................... 18, 21
14
     United States v. Mueffelman,
15    470 F.3d 33 (1st Cir. 2006) ........................................................................................... 17
16
     United States v. Prosperi,
17    686 F.3d 32 (1st Cir. 2012) ........................................................................................... 19
18
     United States v. Spano,
19    411 F. Supp. 2d 923 (N.D. Ill. 2006)............................................................................. 16
20
     United States v. Stefonek,
21    179 F.3d 1030 (7th Cir. 1999) ....................................................................................... 17
22
     United States v. Treadwell,
23    593 F.3d 990 (9th Cir. 2010) ......................................................................................... 17
24   Statutes
25
     18 U.S.C. § 371 ................................................................................................................... 9
26

27   18 U.S.C. § 666 ................................................................................................................... 9

28   18 U.S.C. § 1001(a)(2) ........................................................................................................ 9
                                                                     ii
      Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 5 of 28 Page ID #:203



1                                  TABLE OF AUTHORITIES (CONTINUED)
2    DESCRIPTION                                                                                                                 PAGE
3

4    18 U.S.C. § 1519 ................................................................................................................. 9

5    18 U.S.C. § 1343 ................................................................................................................. 9
6
     28 U.S.C. § 994(d) ............................................................................................................ 19
7
     Rules
8

9    U.S.S.G. § 2B1.1(b)(1)(I) ................................................................................................. 10

10   U.S.S.G. § 2C1.1(a)(1)...................................................................................................... 10
11
     U.S.S.G. § 2C1.1(b)(3) ..................................................................................................... 10
12

13   U.S.S.G. § 3C1.1 ............................................................................................................... 10
14   U.S.S.G. §§ 5H1.2............................................................................................................. 19
15

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      Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 6 of 28 Page ID #:204



1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant was entrusted with leadership of the Los Angeles Department of Water
4    and Power (“LADWP”), the largest public utility in the United States, in September
5    2016. Just a few months after assuming this position of public trust, defendant embarked
6    on a brazen campaign of corruption, agreeing to fix an inflated and reportedly
7    unnecessary $30,000,000 no-bid LADWP contract for a newly formed company,
8    Aventador Utility Solutions, LLC (“Aventador”), in exchange for the promise of future
9    wealth in the form of a lucrative job as Aventador’s CEO. Enlisting the help of several
10   of his subordinates at LADWP and leveraging his role and influence with the LADWP
11   Board of Commissioners (“Board”), defendant exploited his unique control over
12   taxpayer funds and doggedly pushed the contract through, warning of fictitious
13   exigencies and catastrophic consequences if the Board failed to follow his self-serving
14   recommendation.
15         Defendant did not stop there. For two years after the Aventador contract was
16   awarded, he continued to cash in on his position at the head of LADWP, repeatedly
17   making institutional decisions that would secretly enrich him by benefiting Aventador.
18   Defendant did so with blatant disregard for the best interests of LADWP, its thousands
19   of employees, and its millions of ratepayers, and his self-interested actions were at times
20   to the direct and immediate disadvantage of the institution in his stewardship.
21         When his co-conspirator came under scrutiny, defendant took steps to destroy
22   their corrupt communications and hide their continuing association, but he did not use
23   that opportunity to reflect on or repudiate their illegal conduct. Instead, defendant took
24   extra care to ensure that their communications and meetings were secure, and then he
25   doubled down on their illicit plans. And when confronted by law enforcement,
26   defendant initially continued his campaign of obstruction by lying to cover his tracks.
27         Defendant’s shameless betrayal of the public trust and his repeated efforts to
28   obstruct justice are highly aggravating, as reflected in the agreed-upon sentencing factors
      Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 7 of 28 Page ID #:205



1    and the applicable Guidelines range of 135-168 months — even the low end of which is
2    higher than the statutory maximum for the crime by which the government permitted
3    defendant to resolve his case. However, those aggravating factors should be balanced
4    against the mitigating factors in this case, which include defendant’s fulsome acceptance
5    of responsibility and his modest, yet repeated and apparently genuine, efforts to aid the
6    investigation after coming to terms with the evidence against him. Upon weighing those
7    competing considerations and other applicable sentencing factors, the government
8    respectfully recommends the following sentence: (1) a 97-month term of imprisonment;
9    (2) a three-year term of supervised release; (3) a $100,000 fine; and (4) a special
10   assessment of $100.
11   II.   STATEMENT OF FACTS 1
12         Defendant was appointed as LADWP’s General Manager in September 2016. In
13   that capacity, he was entrusted with leading the largest public utility in the United States,
14   which had an annual operating budget of billions of dollars, engaged more than 10,000
15   employees, and served more than four million customers in and around Los Angeles.
16         In and around 2016, defendant formed a close personal and professional
17   relationship with Paul Paradis, a New York lawyer who was by then involved with
18   LADWP in multiple ways, including holding a no-bid technical services contract valued
19   at more than $6,000,000, and representing LADWP in an affirmative lawsuit against the
20   vendor of its billing system. For years, Paradis regularly treated defendant to concerts,
21   sporting events, expensive meals, and other outings. Under the California law requiring
22   high-level public officials to report any financial benefits to the state — an important
23   anti-corruption measure intended to ensure transparency and guard against bribery —
24   defendant was legally required to report these gifts and benefits, but he never did so.
25

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28          1 Unless indicated otherwise, all facts herein are drawn from the stipulated factual
     basis in defendant’s plea agreement (Clerk’s Record (“CR”) 7 at 17-33).
                                                   2
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 8 of 28 Page ID #:206



1          A.     Defendant’s Corrupt Agreement
2          In February 2017, defendant and Paradis met in private at a hotel restaurant and
3    discussed Paradis’s plan to form a new company, Aventador, for the purpose of seeking
4    another lucrative no-bid contract with LADWP. Defendant told Paradis that he would
5    use his position and influence to secure the contract for Aventador in exchange for the
6    promise of a job as Aventador’s Chief Executive Officer when defendant retired from
7    LADWP, an annual salary of $1,000,000, a luxury company car of defendant’s choosing,
8    and other perks. Defendant and Paradis agreed to these terms, and they also resolved to
9    keep their agreement secret, because they knew it was illegal.
10         B.     Defendant’s Secret Lobbying On Behalf of Aventador
11         Throughout the spring of 2017, defendant worked to uphold his end of the corrupt
12   bargain, lobbying individual members of the LADWP Board to persuade them to vote in
13   favor of the $30,000,000 no-bid Aventador contract. Defendant also enlisted the help of
14   subordinate LADWP employees, including other senior LADWP executives, to support
15   the contract. Among other things, defendant asked these executives to help him paint for
16   the Board a picture of the “worst-case scenario” if the Aventador contract were not
17   awarded. As the June 6, 2017 Board vote neared, defendant prepared and honed an
18   impassioned oral pitch that he would use to urge the LADWP Board to award the
19   Aventador contract. Defendant also worked with other senior executives to prepare a
20   letter to the LADWP Board alleging an urgent need to award the contract to Aventador,
21   claiming the lack of alternatives to doing so on a no-bid basis, and warning of the dire
22   consequences that would befall LADWP if the Board declined to award the contract.
23   Mills Declaration, Exhibit 1.
24         In a text message to Paradis on May 17, 2017, defendant expressed his defiance
25   and his intent to muscle the contract through any resistance that might be offered,
26   stating, “We will get this all done and fuck anyone that tries to get in the way.” Around
27   the time of the Board vote, well-meaning LADWP employees did indeed “try to get in
28   the way,” expressing skepticism of the extraordinary fashion in which the $30,000,000
                                                  3
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 9 of 28 Page ID #:207



1    no-bid Aventador contract was being rammed through the Board and suspicion as to
2    Aventador’s recent formation, lack of relevant experience, and sky-high rates. For
3    example, in May 2017, Gwendolyn Williams, the LADWP Assistant General Manager
4    for Supply Chain Services, repeatedly and strongly voiced concerns about the Aventador
5    contract, including that the proposed rates were outrageously high and dramatically
6    above those of other would-be competitor companies, that a no-bid award was not
7    appropriate in the case of a contract for the astronomical amount of $30,000,000, that the
8    scope of work was not sufficiently defined, and that Aventador was a newly formed
9    company that had never been vetted. Mills Declaration, Exhibit 2 at 2-3. When her
10   objections fell on deaf ears, Williams flatly refused to have anything to do with the
11   contract. Id. at 2, Exhibit 3.
12         Williams also documented some of her serious concerns in a memo to defendant
13   and the LADWP Chief Administrative Officer. Id. The memo articulated the necessity
14   for a competitive bidding process and analyzed Aventador’s proposed rates for the
15   project (averaging about $400 per hour). Id. at 2. In particular, it showed that
16   Aventador’s rates were significantly higher than those of similar LADWP contractors,
17   and more than double the average rates of at least one comparable contractor. Id. at 1-2.
18   The memo also explained that Aventador’s extraordinarily high across-the-board rates
19   would result in a far higher overall contract cost, because while another company might
20   have a single senior manager with an hourly rate of close to $400, that manager would
21   only bill on an as-needed basis for project management, whereas Aventador’s proposal
22   called for multiple high-billing employees to work on a “nearly full time basis.” Id. at
23   2. Defendant received, and buried, this memo. Williams, unaware that defendant had
24   secretly arranged a job as Aventador’s CEO for a seven-figure annual salary, later told
25   the FBI that she did not understand why defendant had “steamrolled” the Aventador
26   contract through. Mills Declaration; Exhibit 2 at 4.
27         On the day of the Board vote, LADWP Senior Information Systems Manager
28   Michael Botnick sent defendant and several other senior LADWP executives a
                                                  4
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 10 of 28 Page ID #:208



1    whistleblower-style email voicing his own concerns “as a citizen, a ratepayer, and a
2    DWP veteran,” and professing to also speak for “multiple fellow employees concerned
3    about this topic.” Mills Declaration, Exhibit 4. Among other issues, Botnick’s email
4    noted that Aventador’s formation just three months prior did not “lend itself much time
5    to develop a track record,” and he expressed the concern that LADWP was “[n]ot
6    responsibly utilizing the public’s funds.” Id. Defendant swiftly delivered a reply-all
7    dismissing the dissenting views of Botnick and other subordinates, explaining that
8    defendant “did not recommend this path without a lot of thought and consideration,” and
9    parroting his false statements to the Board that the Aventador contract was needed to
10   “meet the current timeframe” and to “stay on track with court orders.” Id.
11         On June 6, 2017, defendant addressed the Board immediately prior to the
12   Aventador vote. Mills Declaration, Exhibit 5. Defendant’s speech was infused with
13   false exigence, ominously warning that the court-ordered independent monitor had left
14   LADWP no choice but to immediately award Aventador a $30,000,000 contract. 2 As
15   defendant well knew, the report of the “independent monitor” upon which defendant’s
16   salesmanship for the Aventador contract heavily relied — and the stark urgency of which
17   defendant echoed — had been secretly ghost-written by none other than Paradis,
18   defendant’s co-conspirator who stood to benefit handsomely from the $30,000,000
19   contract award to his company. 3 Mills Declaration, Exhibit 6. Leaning further into the
20   false emergency allegedly conveyed by the independent monitor, defendant also told the
21   LADWP Board that the department’s standard procurement process could not be opened
22   up to other bidders because there was no time, so Aventador was the only option. Mills
23   Declaration, Exhibit 5.
24

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           2  As detailed herein and in Exhibit 7, after reviewing for the first time defendant’s
     oral presentation to the LADWP Board citing the independent monitor’s report as
26   requiring that the contract be imminently awarded, the independent monitor told the FBI
     that defendant’s presentation was “just not true,” “there was no emergency, period,” and
27   “there was no need for this contract.” Mills Declaration, Exhibit 7.
            3 Before finalizing the report, Paradis sent it to defendant and asked whether it
28   gave defendant what he needed to push the contract through the Board. Defendant
     replied that it did.
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     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 11 of 28 Page ID #:209



1          Defendant’s fearmongering to the Board was successful. Following defendant’s
2    remarks, the LADWP Board President amplified defendant’s warnings that imminent
3    catastrophic consequences would result from a failure to award Aventador the
4    $30,000,000 no-bid contract. In the Board President’s words to defendant:
5          I don’t think we have any choice but to do what you are recommending.
           Because if we don’t end up meeting the requirements that have been
6          imposed upon us by the court, the disaster that will befall us at that time
           will make the last one look like child’s play.
7
     Exhibit 5. Immediately thereafter, the Board unanimously voted to award the Aventador
8
     contract.
9
           C.     Defendant’s Secret Work On Behalf of Aventador After the Contract
10                Award
11         After the LADWP Board awarded the contract to Aventador, defendant continued
12   to furtively work with Paradis to build and market Aventador. Unsatisfied with just the
13   $30,000,000 LADWP contract, defendant used his role and influence as LADWP’s
14   General Manager throughout the remainder of 2017, 2018, and into 2019 to seek
15   additional lucrative business opportunities for Aventador inside and outside of LADWP.
16         Defendant made clear, in both words and actions, that his primary interest was in
17   serving Aventador and his own financial gain — not the public utility that he led, the
18   City that had entrusted him with that important responsibility, or the taxpayers that
19   underwrote his substantial salary package. Defendant’s stated justification for the
20   $30,000,000 Aventador contract was the allegedly urgent need for its work on the
21   LADWP billing system upgrade; however, in November 2017, soon after expressing
22   critical urgency to the Board for that project and only a few months in to the three-year
23   Aventador contract, defendant directed Paradis that Aventador should do “the minimal
24   possible” with respect to the upgrade so that defendant would not need to spend time and
25   energy on that project during his remaining time at LADWP. Meanwhile, defendant’s
26   communications with Paradis showed him redirecting his time and energy to building
27   and hyping Aventador’s brand. And in 2018, defendant capitalized on a cyber attack at
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     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 12 of 28 Page ID #:210



1    LADWP, seeking to use it as a platform for increasing Aventador’s work, stature, and
2    revenue.
3           In 2018 and 2019, defendant purported to commit LADWP to purchase
4    $15,000,000 in training over three years from a foreign cybersecurity company that
5    Paradis had invested in and planned to franchise in Los Angeles. As defendant knew, he
6    did not have the authority to make that commitment on behalf of LADWP; however, he
7    intended to use his influence with the Board to convince them to support the expenditure,
8    which would secretly benefit him financially.
9           D.    Defendant’s Destruction of Evidence
10          In March 2019, Paradis was forced out of his engagements with LADWP under a
11   cloud of suspicion (later confirmed) that he was self-dealing. Rather than use this
12   development to reflect on his own corrupt actions with Paradis and their potential
13   consequences, defendant doubled down, reaffirming his commitment to their criminal
14   conspiracy and making plans for a new successor company that would not be tainted by
15   the now-tarnished Aventador brand. But defendant knew that his plans and actions were
16   illegal, and he did not want to be caught. Defendant thus undertook significant efforts to
17   conceal his continuing association with Paradis and to destroy evidence of their criminal
18   conduct, including directing Paradis to delete incriminating text messages and emails
19   from defendant’s phone and iCloud account, destroying incriminating physical evidence
20   stored in his LADWP office, and directing Paradis to take back and wipe clean the
21   Aventador laptop that defendant had obtained from Paradis for the purpose of secretly
22   performing Aventador work. Defendant also asked Paradis to obtain unattributable
23   “burner” cell phones for them to secretly communicate. In April 2019, defendant
24   orchestrated and conducted an clandestine dead-drop maneuver with Paradis to obtain
25   his burner phone and his wiped cell phone from Paradis. See Mills Declaration, Exhibits
26   8-9.
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     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 13 of 28 Page ID #:211



1          E.     Defendant’s Renewal of Commitment To His Corrupt Agreement
2          In late March 2019, defendant told Paradis — who was by then, unbeknownst to
3    defendant, cooperating with the FBI — that he still wanted to continue their
4    longstanding project of building and marketing Aventador in preparation for defendant’s
5    eventual employment as Aventador’s CEO, a job that defendant still intended to claim
6    (after staying long enough at LADWP to secure significant taxpayer-funded retirement
7    benefits). Specifically, defendant had the following exchange with Paradis during a
8    private meeting at defendant’s home on March 29, 2019, which Paradis recorded at the
9    direction of the FBI:
10         Wright:      The future with Aventador and [Cyber Company A] died for
                        me, so now I’m resurrected again.
11
           Paradis:     Yeah.
12
           Wright:      Do you know what I mean?
13
           Paradis:     And- and I’m not going to call it died. And we didn’t have a
14                      chance to talk about it. In my mind it was deferred, um, and
                        that’s why I wanted to have this conversation. So.
15
           Wright:      And I was hoping that.
16
     Mills Declaration, Exhibit 10.
17
           Defendant thereafter continued to further his corrupt plans with Paradis, including
18
     using his position and influence to convince the LADWP Board to support the award of
19
     a new cybersecurity contract to Aventador’s successor company, Ardent, for over
20
     $10,000,000 in April 2019. Defendant also asked Paradis for additional compensation in
21
     the form of a “substantial sign-on bonus” of either $600,000 or $1,200,000 and an
22
     additional ownership interest in their company. Moreover, although defendant
23
     repeatedly expressed eagerness to leave LADWP and to do minimal work while there, he
24
     told Paradis that he would continue playing the role of General Manager until he had
25
     finished securing another new contract for Ardent. Defendant assured Paradis that in the
26
     meantime, he would be unofficially working for their company behind the scenes. And
27
     while defendant acknowledged that he could not lawfully be paid for his secret work
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     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 14 of 28 Page ID #:212



1    while employed by LADWP, he suggested that he could instead be compensated with
2    “some retroactive money” after securing his retirement with LADWP. In so doing, the
3    General Manager of LADWP referred to Paradis — a contractor for whom he was
4    secretly fixing a lucrative contract that would benefit them both — as his “ATM.”
5             F.    Defendant’s False Statements To Federal Authorities
6             On June 6, 2019, defendant participated in a voluntary interview with the Federal
7    Bureau of Investigation and the United States Attorney’s Office at his residence.
8    Defendant was asked specific questions about his affiliation with Paradis and his
9    interests in Aventador and its successor companies. To conceal his crimes, defendant
10   falsely stated that he did not have any financial or business interest — present or future
11   — in Aventador, any successor or affiliate company, or any other company associated
12   with Paradis.
13   III.     Procedural History
14            On December 13, 2021, the government filed an information charging defendant
15   with a single count of federal program bribery in violation of 18 U.S.C. § 666, along
16   with a plea agreement between defendant and the government. The plea agreement was
17   supported by a 17-page factual basis detailing defendant’s admissions not only to the
18   bribery charge, but also to conduct that violated 18 U.S.C. § 371 (conspiracy), 18 U.S.C.
19   §§ 1343, 1346 (honest services wire fraud), 18 U.S.C. § 1519 (obstruction of justice by
20   destroying documents), and 18 U.S.C. § 1001(a)(2) (false statements). The total
21   applicable statutory maximum sentence for a violation of all of the offenses that
22   defendant admitted to committing would be at least 60 years, assuming only one
23   violation of each statute. However, in exchange for defendant’s fulsome acceptance of
24   responsibility pre-indictment, defendant’s plea agreement permitted him to resolve his
25   case with a plea to the single § 666 count, which carries a statutory maximum of ten
26   years.
27            On January 25, 2022, in accordance with his plea agreement, defendant entered a
28   plea of guilty to one count of federal program bribery in violation of 18 U.S.C. § 666.
                                                   9
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 15 of 28 Page ID #:213



1    IV.   THE PRESENTENCE INVESTIGATION REPORT
2          On March 21, 2022, the United States Probation Office (“USPO”) issued the
3    presentence investigation report (“PSR”), along with a disclosed recommendation letter.
4    CR 35, 36. The PSR found, as stipulated to by the parties in the plea agreement, that the
5    following sentencing guidelines factors were applicable:
6                    Base Offense Level:           14             [U.S.S.G. § 2C1.1(a)(1)]
7                    Value of bribe between      +16            [U.S.S.G. § 2B1.1(b)(1)(I)]
                     $1,500,001-$3,500,000
8
                     Involved public official      +4             [U.S.S.G. § 2C1.1(b)(3)]
9                    in high-level decision-
                     making and sensitive
10                   position
11                   Obstruction of justice       +2                    [U.S.S.G. § 3C1.1]
12                   Acceptance of                -3                    [U.S.S.G. § 3E1.1]
                     responsibility
13
                     Total Offense Level           33
14

15   CR 36 ¶¶ 59-76. The PSR indicated that defendant had no criminal history points,
16   yielding a score of zero and a criminal history category of I. Id. ¶¶ 81-82. The PSR
17   calculated defendant’s resulting advisory sentencing guidelines range to be 135-168
18   months. Id. ¶ 171. However, the PSR noted that ten-year statutory maximum was lower
19   than the low end of the applicable range, resulting in a guideline term of imprisonment
20   of 120 months. Id. The PSR also calculated defendant’s fine range at $35,000-
21   $350,000, and found that defendant had an ability to pay a fine above the low end of the
22   fine range. Id. ¶¶ 167-68. The government concurs with the PSR’s analysis and
23   calculations and does not find any other sentencing guidelines factors to be applicable.
24         The USPO’s disclosed recommendation letter opined that certain mitigating
25   factors, including defendant’s educational and employment history, lack of prior law
26   enforcement contacts, lack of success in obtaining the bargained-for benefits of his
27   corrupt agreement, and medical and emotional issues, supported a substantial downward
28

                                                 10
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 16 of 28 Page ID #:214



1    variance to 72 months’ imprisonment. 4 CR 35 at 6. For the reasons set forth herein, the
2    government respectfully disagrees with the mitigating factors identified by the USPO,
3    some of which appear to improperly prioritize the socio-economic status of defendant.
4    However, the government notes certain other mitigating factors and recommends a
5    downward variance of three levels, to the resulting low end of 97 months’ imprisonment.
6          The USPO letter also recommended a low-end fine of $35,000. CR 35 at 1. The
7    government concurs that a fine within the applicable guidelines range is appropriate.
8    However, in light of the nature and scope of the offense conduct, the financial nature of
9    his crimes, his motivation of greed, and the USPO’s supported finding that defendant
10   “has the ability to pay a larger fine” than the low end (CR 36 ¶ 167), the government
11   recommends a fine of $100,000. Defendant’s healthy financial situation, which includes
12   his individual net worth of well over $600,000 and his monthly retirement income of
13   over $12,600, should permit his ability to pay such a fine. Id. ¶ 154.
14          THE GOVERNMENT’S SENTENCING RECOMMENDATION
15         A.     Nature and Circumstances of the Offenses
16         Defendant’s offense conduct is undeniably aggravating. As the stipulated factual
17   basis and the PSR articulate at great length, defendant shamelessly exploited his position
18   as LADWP’s highest official, betraying both the critical-infrastructure organization that
19   he was entrusted to lead and the City officials who selected him with that important
20   responsibility. His motive was naked greed — he sought to cash in on the public trust
21   for his own personal wealth and advancement. Moreover, while the USPO
22   recommendation letter argues that the offense conduct represents a mere “deviation from
23   an otherwise law-abiding life,” CR 35 at 6, this was far from a limited misstep or one-
24   time lapse of judgment. Defendant chose the path of corruption and betrayal of the
25   public trust in 2017, and he never looked back. His extensive communications with
26

27
            4 Effectively, this would represent a six-level downward variance from
28   defendant’s applicable guidelines range, with a sentence slightly above the low end of
     the resulting range.
                                                 11
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 17 of 28 Page ID #:215



1    Paradis, wherein they engaged in elaborate preparations to build and market Aventador’s
2    brand, to find and exploit new business opportunities, and to lay the groundwork for
3    Aventador’s future financial success, make clear that defendant was playing the long
4    game. He admittedly intended to stay at LADWP long enough to collect retirement
5    benefits on his $500,000+ LADWP salary and benefits package 5, to use his role and
6    influence within LADWP and in the community to position Aventador for as many
7    lucrative business opportunities as possible, and then to slide into a profitable second
8    career as Aventador’s CEO.
9                 1.    The Temporal Scope of Defendant’s Conduct
10         The extensive and lengthy course of defendant’s criminal conduct at the expense
11   of the institution that he was chosen to lead undermines the suggestion that his crimes
12   represented a small and discrete blemish on an otherwise honorable and productive life.
13   Over the nearly two-and-a-half years between his initial early-2017 decision to accept a
14   corrupt arrangement with Paradis and the disruption of his crimes by law enforcement in
15   June 2019, defendant had ample opportunity to consider his actions, correct his course,
16   and choose a different path. Defendant did the opposite. He sought more business
17   opportunities for Aventador both inside and outside LADWP, he leaned on the Board to
18   leverage additional eight-figure contracts for Aventador’s successor company, he
19   purported to commit LADWP to purchase $15,000,000 in training from another
20   company in which he and Paradis had a secret stake, and he asked for additional money
21   and benefits from Paradis (including a signing bonus and an increased ownership interest
22   in the company). When Paradis was forcibly removed from his LADWP entanglements
23   in March 2019 amid allegations of corruption and self-dealing, this could have served as
24   a belated wake-up call to defendant, alerting him that his illicit conduct could bear
25   serious consequences. Instead, after an initial spate of self-protection in which defendant
26

27
            5 Defendant’s total pay and benefits in 2018 reportedly amounted to $541,151.26.
28   https://transparentcalifornia.com/salaries/2018/los-angeles-department-water-and-
     power/david-h-wright/
                                                 12
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 18 of 28 Page ID #:216



1    systematically destroyed all incriminating evidence and sought to publicly distance
2    himself from Paradis, defendant reaffirmed his commitment to their criminal plans and
3    resumed his secret work on behalf of Aventador’s successor company with renewed
4    vigor.
5                   2.     The Critical Nature of LADWP and the General Manager’s Role and
                           Responsibilities
6
              Many run-of-the-mill corruption cases involve low- or mid-level government
7
     employees who took bribes to augment their modest public salaries. This is not such a
8
     case. Defendant sat at the head of the largest public utility in America and was
9
     compensated in that role at the rate of more than half a million dollars a year. After
10
     reaching what many would consider the pinnacle of a lucrative and distinguished career
11
     in public service, he repeatedly leveraged that apex position and his unsurpassed
12
     influence at LADWP to persuade the Board to make contracting decisions that would
13
     secretly enrich him. Perhaps more egregiously, he directed his subordinates to help him
14
     in his quest to hawk Aventador’s questionable wares.
15
              Further adding to the seriousness of the offense is defendant’s flagrant disregard
16
     for the potential impact on the critical infrastructure of LADWP, which is responsible for
17
     delivering electricity and water to virtually the entirety of the greater Los Angeles area,
18
     including to hospitals, fire departments, police stations, jails, military installations,
19
     government offices, businesses, schools, and households, all of whom depend on the
20
     vital services that LADWP provides. The Aventador contract was at least nominally
21
     intended to remedy billing system flaws that had wreaked havoc on the financial and
22
     home lives of LADWP’s customers for years, causing hundreds of thousands of
23
     ratepayers to be overbilled to their detriment or underbilled (or never billed) to the
24
     detriment of the institution and other ratepayers who bore the costs. Beginning in 2018,
25
     a new Aventador task order shifted much of the contract’s focus to cybersecurity work.
26
     That defendant served his own secret financial interests by arranging for Aventador to
27
     address these important issues and secure this particular contract on a no-bid basis,
28

                                                   13
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 19 of 28 Page ID #:217



1    thereby icing out competitors that may well have been better qualified to perform this
2    critical and highly sensitive work, is highly aggravating.
3                 3.     Damage To the Integral Public Institution That Defendant Was
                         Entrusted To Lead
4
           It is axiomatic, and has been repeatedly recognized, that public confidence in
5
     government suffers with every instance of corruption:
6
           Government corruption breeds cynicism and mistrust of elected officials. It
7          causes the public to disengage from the democratic process because . . . the
           public begins to think of politics as ‘only for the insiders.’ Thus corruption
8          has the potential to shred the delicate fabric of democracy by making the
           average citizen lose respect and trust in elected officials and give up any
9          hope of participating in government though legitimate channels.
10   United States v. Ganim, 2006 WL 1210984, at *5 (D. Conn. May 5, 2006). Defendant’s
11   egregious crimes were no exception; they further contributed to the erosion of the
12   public’s confidence in government and government officials, as powerfully articulated
13   below by some of the victims impacted by defendant’s corruption — the LADWP Board
14   on behalf of its employees and the public they serve.
15         Throughout 2017, all of 2018, and into 2019, defendant resolutely pursued his
16   corrupt plan, at times using his position as General Manager to advantage Aventador to
17   the direct and immediate detriment of LADWP. For example, shortly after secretly
18   manipulating the LADWP Board to award a $30,000,000 no-bid contract to Paradis for
19   the stated (and purportedly urgent) purpose of remediating the billing system, defendant
20   directed Paradis to do “the minimal possible” on that very project, so that defendant
21   would not have to be occupied with it during his remaining tenure at LADWP.
22   Defendant’s utter disregard for the best interests of the vital public utility that he was
23   entrusted to lead is particularly aggravating. Moreover, defendant’s crimes inflicted
24   incalculable institutional damage on LADWP. The day after defendant’s Information
25   was made public, the current Board President reflected on that “extraordinary damage,
26   and the incredible breach of trust that was inflicted on this Department”:
27         There is, and there are, no words to describe the level of outrage, sadness,
           and sense of betrayal felt by this Board and by the members of this
28         Department, or the regret that we feel associated with the extraordinary
                                                  14
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 20 of 28 Page ID #:218



1          impacts of [defendant’s] behavior, negative impacts, both as it relates to
           Department operations, but again, and more significantly, as it relates to
2          the level of service that we provide to our customers. . . . I have full
           appreciation for the extraordinary pain associated with many of the
3          employees, and particularly of many of the members of our senior
           management team, who worked closely, unbeknownst to them, with a now
4          admitted person of ill repute who was in real time seeking to defraud the
           Department and committing crimes upon the Department. . . . I regret what
5          has occurred, apologize to members of the public who are reading with
           dismay the events that have transpired at this Department, and want to also
6          stand with the thousands of employees who come to work every day and
           give every measure their best at all times.
7
     Mills Declaration, Exhibit 11. After the Board President’s remarks, the current Board
8
     Vice President elaborated as follows:
9
           The actions of [defendant] have brought shame and disgrace. It has stained
10         the trust that we have built over the years with our customers, our allies, our
           partners, and employees. It has disrupted our values and norms. And more
11         importantly, it has impacted and disrupted our hardworking and dedicated
           employees. And I really want to focus on that today. Employee morale is
12         hurting. At a time when the leaders of this organization are working to
           change our culture to embody more trust, transparency, inclusion, and
13         accountability, this crisis comes before us. Corruption hurts everyone.
           Employees that know that they are working for an unethical organization
14         where bribery is tolerated and practiced are more likely to be unmotivated
           and disinterested in their work. And this negatively impacts performance,
15         output, and overall staff morale. And this can lead to poor performance and
           high turnover. And when corruption and bribery takes place, resources are
16         diverted from their appropriate and planned-for destination. Corruption
           reduces that infrastructure of our organization as well as the effectiveness
17         of public investments. . . . As someone who has spent decades serving
           alongside our dedicated employees, it really sickens me to see their
18         professional reputations damaged [by defendant’s acts].
19   Id.
20         This Court can take a step toward remediation of this broad and immeasurable
21   damage with a strong custodial sentence.
22         B.     General and Specific Deterrence
23         As is evident from a wide, and widely reported, swath of misconduct by public
24   officials that has been exposed in numerous federal cases charged recently in this
25   district, public corruption in the Los Angeles area is of paramount concern. The
26   endemic nature of public corruption in a particular area is a factor that weighs heavily in
27   favor of a substantial custodial sentence. See United States v. Hill, 645 F.3d 900, 911
28   (7th Cir. 2011) (finding that “widespread corruption in East St. Louis and the need to
                                                 15
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 21 of 28 Page ID #:219



1    deter future public corruption” were appropriately considered in support of an above-
2    guidelines sentence for “the blatant abuse of power by a significant official in a corrupt
3    area”).
4                   1.     General Deterrence
5             General deterrence is a unique concern in public corruption cases. As one court
6    noted:
7             We need not resign ourselves to the fact that corruption exists in
              government. Unlike some criminal justice issues, the crime of public
8             corruption can be deterred by significant penalties that hold all offenders
              properly accountable. The only way to protect the public from the ongoing
9             problem of public corruption and to promote respect for the rule of law is to
              impose strict penalties on all defendants who engage in such conduct, many
10            of whom have specialized legal training or experiences. Public corruption
              demoralizes and unfairly stigmatizes the dedicated work of honest public
11            servants. It undermines the essential confidence in our democracy and
              must be deterred if our country and district is ever to achieve the point
12            where the rule of law applies to all — not only to the average citizen, but to
              all elected and appointed officials.
13

14   United States v. Spano, 411 F. Supp. 2d 923, 940 (N.D. Ill. 2006), affirmed, 477 F.3d
15   517 (7th Cir. 2006) (emphasis added). General deterrence is a particularly effective tool
16   in corruption and other white-collar cases, as white-collar criminals often premeditate
17   their crimes and engage in a cost-benefit analysis. See, e.g., United States v. Martin, 455
18   F.3d 1227, 1240 (11th Cir. 2006) (“Because economic and fraud based crimes are more
19   rational, cool, and calculated than sudden crimes of passion or opportunity, these crimes
20   are prime candidates for general deterrence. Defendants in white collar crimes often
21   calculate the financial gain and risk of loss, and white collar crime therefore can be
22   affected and reduced with serious punishment.”).
23            Sentencing in public corruption and other white-collar criminal cases can present a
24   unique risk of creating (or feeding the perception of) a two-tier system of justice — a
25   more flexible and lenient tier for well-known or well-heeled white-collar defendants, and
26   a more rigid, severe, and guidelines-oriented tier for “other” criminals. See United
27   States v. Musgrave, 761 F.3d 602, 609 (6th Cir. 2014) (“one of the central reasons for
28   creating the sentencing guidelines was to ensure stiffer penalties for white-collar crimes
                                                   16
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 22 of 28 Page ID #:220



1    and to eliminate disparities between white-collar sentences and sentences for other
2    crimes”) (internal citations omitted). That dichotomy is inconsistent with the
3    Constitution, with fundamental fairness, and with the statutory goals of sentencing, and
4    it has been repeatedly repudiated by the courts. See United States v. Treadwell, 593 F.3d
5    990, 1012–13 (9th Cir. 2010) (overruled on other grounds) (rejecting the principle that a
6    defendant of means should be afforded a lower prison sentence to enable him to pay
7    restitution to his fraud victims, and noting the critical importance of “the minimization of
8    discrepancies between white- and blue-collar offenses, and limits on the ability of those
9    with money or earning potential to buy their way out of jail”) (quoting United States v.
10   Mueffelman, 470 F.3d 33, 40 (1st Cir. 2006)); United States v. Stefonek, 179 F.3d 1030,
11   1038 (7th Cir. 1999) (white-collar criminals are “not to be treated more leniently than
12   members of the ‘criminal class’”).
13         For these reasons, the substantial deviation from the guidelines recommended by
14   USPO here is not supported by appropriate sentencing considerations, and it would
15   undercut the deterrent purpose of sentencing and embolden future crimes. A meaningful
16   sentence in this case — which is undoubtedly being observed by other Los Angeles
17   public officials and those in their orbit — will thus serve an important public purpose.
18                2.    Specific Deterrence
19         Specific deterrence also counsels in favor of a strong custodial sentence.
20   Defendant actively sought to obstruct justice in multiple ways in this case before
21   ultimately resigning to full accountability. First, he endeavored to destroy evidence,
22   including shredding physical documents, directing a co-conspirator to wipe all
23   incriminating messages from his cell phone and iCloud account, and carefully executing
24   a theatrical dead-drop maneuver to collect a burner phone in order to move his ongoing
25   criminal communications to a more secure platform. Second, when first confronted by
26   law enforcement asking pointed questions about his financial ties to Aventador and
27   Paradis, defendant chose to lie. Only after it became clear that his back was against the
28   wall, with the investigation in possession of copious evidence of his crimes, did
                                                 17
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 23 of 28 Page ID #:221



1    defendant admit those crimes. These repeated acts of obstruction before a decision to
2    accept responsibility make clear that a significant term of imprisonment is necessary to
3    specifically deter this defendant from future criminal conduct.
4          C.     Need to Reflect Seriousness of Offense, to Promote Respect for the
                  Law, and to Provide Just Punishment for the Offense
5
           The public has suffered as a result of defendant’s self-serving greed, and it is
6
     important that the public observe the imposition of an appropriate sentence reflecting the
7
     seriousness of his admitted crimes. Anything less risks compounding the harm of
8
     defendant’s crimes by further undermining confidence not only in the American system
9
     of government, but in the American system of justice.
10
           Public corruption is not a victimless crime. The victim is our democratic system
11
     of government, the integrity of which is further weakened with every revelation that yet
12
     another public official’s influence and favors are for sale. Defendant’s brazen and
13
     extensive corruption has further degraded an already cynical American public’s trust in
14
     the fairness and integrity of government. As outlined by the Board leadership’s
15
     comments above, defendant’s victims here also included LADWP, its thousands of
16
     employees, and its millions of ratepayers. A strong sentence is necessary to punish
17
     defendant’s conduct, promote respect for the law, and restore public faith in the system.
18
     As one court has observed: “The judicial response to demonstrated corruption by the
19
     political elite and the lapse of duty, honor, and integrity it represents is as important as
20
     the corruption itself.” United States v. Morgan, 635 F. App’x 423, 447 (10th Cir. 2015).
21
     Here, the appropriate judicial response to defendant’s brazen and expansive corruption is
22
     a substantial custodial sentence.
23
           D.     History and Characteristics of Defendant
24
                  1.     Aggravating Factors
25
           As the PSR indicates, defendant has enjoyed numerous advantages in life. Those
26
     advantages led to his influential position in public governance and the platform that
27
     allowed him to commit these crimes. Specifically, the PSR reflects that defendant
28

                                                   18
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 24 of 28 Page ID #:222



1    enjoyed a healthy relationship with both parents, a relatively happy childhood (with the
2    exception of some bullying at school), a good education, and a very amicable parting
3    following a loving marriage, and that he continues to maintain positive and supportive
4    relationships with his children, grandchildren, ex-spouse, long-time partner, other family
5    members, friends, and other members of his community. CR 36 ¶¶ 88-109, 119-129.
6    The USPO’s recommendation letter finds certain of these advantages, including
7    defendant’s “strong work ethic that has allowed him to earn an advanced degree and
8    helped him to work his way up to the highest levels of the public utility industry,” to be
9    exclusively mitigating. CR 35 at 6. Recognizing that reasonable minds can differ on the
10   consideration and proper weighting of various sentencing factors, the government
11   respectfully disagrees.
12         As an initial matter, the USPO’s perspective overlooks the fact that defendant had
13   that same work ethic and enjoyed those same high-level employment opportunities
14   throughout the time that he was abusing his position of public trust and fixing tens of
15   millions of dollars in contracts for a company that had bribed him to do so — indeed, it
16   was precisely that ambition and that climb to the top that afforded defendant the perch
17   from which he was able to commit these crimes. Moreover, the government looks at
18   defendant’s advantages through a different lens, one that is more consistent with judicial
19   guidance and the Guidelines themselves. 6 An abusive home, a traumatic childhood, an
20

21         6  The USPO concluded that that defendant’s “educational and employment
     record” (specifically, his college and graduate degrees and his advancement to “the
22   highest levels of the public utility industry”) were mitigating factors supporting a
     downward variance from the applicable guidelines (CR 35 at 7). This analysis runs the
23   risk of advocating the type of disparate treatment favoring certain classes of defendant
     that courts, Congress, and the Sentencing Commission have repeatedly found to be
24   improper. See United States v. Prosperi, 686 F.3d 32, 47 (1st Cir. 2012) (“[I]t is
     impermissible for a court to impose a lighter sentence on white-collar defendants than on
25   blue-collar defendants because it reasons that white-collar offenders suffer greater
     reputational harm or have more to lose by conviction.”); see also 28 U.S.C. § 994(d)
26   (requiring sentencing guidelines to be “entirely neutral as to ... socioeconomic status of
     offenders); U.S.S.G. §§ 5H1.2 (“[e]ducation and vocational skills are not ordinarily
27   relevant in determining whether a departure is warranted”); 5H1.5 (“[e]mployment
     record is not ordinarily relevant in determining whether a departure is warranted”);
28   5H1.10 (socio-economic status is “not relevant in the determination of a sentence”).
                                                         (footnote cont’d on next page)
                                                 19
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 25 of 28 Page ID #:223



1    upbringing in a gang-infested neighborhood, years spent languishing in failing schools, a
2    community marred by the plague of addiction, a general hopelessness and dearth of
3    available opportunity — those are mitigating factors. Defendant enjoyed the opposite.
4    Unlike many defendants brought before this Court, defendant was privileged with a
5    secure childhood, a loving and stable home, a solid education that opened the door to his
6    undergraduate and graduate degrees, and the opportunity to build a highly successful
7    professional career. Defendant parlayed those advantages to claim a lofty platform from
8    which he freely and eagerly chose to sell his influence to the highest bidder, and nothing
9    about that is mitigating.
10         The fact that defendant’s long-range corrupt agreement did not ultimately bear the
11   riches that he intended was also considered as a mitigating factor by the USPO. CR 35
12   at 6. The government again disagrees. The fact that, with the assistance of a cooperator,
13   law enforcement detected and disrupted defendant’s bribery scheme before it rewarded
14   him with substantial fruit does not diminish the seriousness of defendant’s conduct or the
15   public harm that it caused. Certainly, absent the intervention of law enforcement,
16   defendant would currently be drawing a seven-figure annual salary as the CEO of
17   Aventador, which would in turn be raking in money from the contracts and connections
18   that defendant had skillfully leveraged while secretly acting on Aventador’s behalf.
19         The fact that defendant enjoys the support of his family and community and has
20   rallied friends and former colleagues to speak on his behalf, as indicated in the PSR, is
21   somewhat mitigating. CR 36 ¶¶ 119-129. Those positive relationships will aid
22   defendant’s ability to rehabilitate following his conviction and sentence in this case.
23   However, while the Court should consider the offered letters and testimonials of support,
24   it should place them in their proper context and refrain from giving them undue weight.
25

26   Collateral consequences “related to a defendant’s humiliation before his community,
     neighbors, and friends would tend to support shorter sentences in cases with defendants
27   from privileged backgrounds, who might have more to lose along these lines. And ‘[w]e
     do not believe criminals with privileged backgrounds are more entitled to leniency than
28   those who have nothing left to lose.’” United States v. Bistline, 665 F.3d 758, 760 (6th
     Cir. 2012) (citation omitted).
                                                 20
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 26 of 28 Page ID #:224



1    As the Tenth Circuit in Morgan stated, in noting its lack of surprise at the many letters
2    offered in support of the defendant as he faced sentencing, “One does not become [a
3    high-ranking public official] without the confidence of many supporters, some quite
4    influential. The letters must be viewed in that light.” 635 Fed. Appx. at 449-50. It
5    should also be considered that defendant apparently enjoyed these same loving,
6    supportive, healthy relationships with family, friends, and colleagues during the entire
7    course of his criminal conduct, and that these positive influences did nothing through
8    2017, 2018, or the first half of 2019 to deter him from violating the public trust and
9    trading his position for lucrative bribes.
10                2.     Mitigating Factors
11         While respectfully disagreeing with many of the factors found mitigating by the
12   USPO, the government recognizes that defendant’s extensive and egregious conduct is
13   mitigated by certain other permissible factors. After initially lying to investigators when
14   confronted about his criminal conduct, and after then retaining legal counsel, defendant
15   began to accept responsibility in the summer of 2019 and repeatedly made what the
16   government views as sincere — though largely unproductive — efforts at cooperation.
17   Defendant proffered some information about other potential corruption-related conduct,
18   and at the FBI’s request, he participated in several covertly recorded conversations with
19   other high-level officials to explore that conduct. 7 And on the morning of the FBI’s
20   execution of search warrants at LADWP headquarters and other locations, defendant
21   endeavored to provide a measure of additional assistance by appearing at LADWP
22   headquarters to gauge and relay to investigators the reactions of other persons of interest
23   to the investigation. These actions did not rise to the level of “substantial assistance,”
24   and the government thus cannot move for a departure pursuant to U.S.S.G. § 5K1.1.
25   Nonetheless, the government believes that defendant’s efforts were genuine and well-
26

27          7 The government also recognizes that in addition to providing some information
     that proved to be truthful, defendant refrained from opportunistically maligning others
28   falsely in order to help his own situation, which both protected the rights of other people
     and saved the investigation time and resources.
                                                  21
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 27 of 28 Page ID #:225



1    intentioned. In order to recognize them and to incentivize similar efforts in future cases,
2    the government posits that they warrant a modest variance as a mitigating 3553(a) factor.
3          Similarly, defendant’s forthrightness in accepting responsibility in this case
4    warrants somewhat more credit than is accounted for in the standard provisions of
5    U.S.S.G. § 3E1.1. 8 Although it took some time for defendant to come to a place of
6    acceptance, once he arrived at that place, he remained there fully and steadfastly, which
7    saved the government time and resources in a complex and wide-ranging investigation
8    involving numerous other people and facets. Defendant and his counsel made
9    themselves freely available to the government, including for factual questions and for the
10   mechanics of navigating and drafting the detailed factual basis and charging language;
11   he waived his right to indictment by grand jury and agreed to proceed by a criminal
12   information; he readily agreed to a very fulsome factual basis at the request of the
13   government, which positively impacted the government’s larger investigation; he did not
14   raise frivolous and time-consuming objections to specific facts that were supported by
15   evidence and known to defendant; and he made clear that he was ready to enter a plea of
16   guilty nearly immediately. Together with the above-described efforts to cooperate, this
17   demonstration of fulsome acceptance — which both allowed the government to devote
18   valuable time and resources to other aspects of this complex investigation (and to other
19   important investigations) and served the interests of judicial economy by saving the
20   Court’s time and resources — merits a modest but meaningful downward variance from
21   the applicable Guidelines range of 135-168 months.
22         Collectively, the government considers these mitigating factors to warrant a
23   downward variance of three levels, to level 30. 9 The government further posits that the
24

25
           8  For example, a defendant who exercised his rights to indictment by a grand jury,
     production of full pretrial discovery, and fulsome litigation of pretrial motions before
26   timely notifying the government of his intent to plead guilty would typically be entitled
     to a three-level reduction pursuant to U.S.S.G. § 3E1.1.
27          9 It should be noted that defendant has already received a valuable benefit in
     consideration of those same mitigating factors. Specifically, mindful of these factors, the
28   government agreed to permit defendant to resolve his case with a plea to a single count
                                                         (footnote cont’d on next page)
                                                 22
     Case 2:21-cr-00559-SB Document 38 Filed 04/12/22 Page 28 of 28 Page ID #:226



1    interests of justice support a sentence at the low end of that applicable range (97
2    months).
3            E.    Avoidance of Sentencing Disparities
4            While defendant is entitled to some leniency for the reasons described herein, an
5    unduly light sentence here would lead to unwarranted sentencing disparities with less
6    culpable defendants who do not enjoy the same status, connections, and resources as
7    defendant.
8    V.      CONCLUSION
9            Above all, the Court should avoid sending a message that while the advisory
10   guidelines are applicable to the vast majority of defendants in the heartland of cases,
11   well-known and well-heeled white-collar criminals who do not fall outside the heartland
12   of white-collar cases should nonetheless be privileged with a more lenient tier of justice.
13   This country has only one federal justice system, and a strong custodial sentence is
14   required in this case.
15           For the reasons articulated herein, the government respectfully requests that this
16   Court impose the following sentence: (1) a 97-month term of imprisonment; (2) a three-
17   year term of supervised release; (3) a $100,000 fine; and (4) a special assessment of
18   $100.
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26   of federal program bribery, notwithstanding evidence beyond a reasonable doubt of (and
     his admissions in the factual basis to) several other crimes, including those with higher
27   statutory maximum sentences. Defendant’s plea agreement thus already affords him the
     significant benefit of protection against the possibility of a sentence within his applicable
28   sentencing guidelines range of 135-168 months, which is substantially higher than the
     ten-year statutory maximum of the count to which he pleaded guilty.
                                                  23
